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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                              TYLER DIVISION


  THE DAILY WIRE, LLC et al.,

               Plaintiffs,

        v.                                       Civil Action No. 6:23-cv-00609 (JDK)

  UNITED STATES DEPARTMENT
  OF STATE et al.,

               Defendants.


         DEFENDANTS’ OPPOSITION TO MOTION FOR EXPEDITED
            PRELIMINARY-INJUNCTION-RELATED DISCOVERY



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                                       INTRODUCTION
          It should be uncontroversial that a lawsuit may not proceed to discovery before

  jurisdictional issues are resolved and while the case lays venue in the wrong court. That is

  particularly so where a plaintiff seeks expedited discovery—before the defendant has even

  responded to the Complaint—demanding urgent access to information related to allegations

  that could have been raised years earlier.

          But Plaintiffs have done just that. On December 6, 2023, Plaintiffs brought this suit

  challenging two agency grants that date back to 2020 and 2021, and other agency actions

  allegedly performed on an online platform that Plaintiffs acknowledge has been retired since
  2021. See Compl. ¶¶ 59, 142-44, 160, ECF No. 1. Two months passed without litigation

  activity. Upon receiving notice of Defendants’ intent to move to transfer this matter to a

  proper venue, Plaintiffs moved this Court for two extraordinary orders. First, Plaintiffs seek

  a preliminary injunction that would prohibit Defendants “and any individuals and entities

  acting on their behalf” from a sweeping array of activities, including researching, assessing,

  funding, or “otherwise assist[ing]” with third parties’ development or use of certain

  technologies. See Mot. for Prelim. Inj. at 36, ECF No. 11. Second, the focus of this filing,

  Plaintiffs ask the Court to depart from the ordinary course of civil litigation by requiring

  Defendants to respond to an unspecified number of interrogatories and requests for

  documents, and to potentially prepare for depositions that may exceed the maximum number

  allowed by the Federal Rules of Civil Procedure, all on a compressed timeline. See Mot. for

  Disc. at 2-3, ECF No. 13.

          While Plaintiffs would have the Court leap ahead to the merits of their claims and

  requested relief, there are threshold jurisdictional and venue issues that prevent this case from

  moving forward at all. For starters, as Defendants have previously demonstrated and will

  further explain in forthcoming filings, Plaintiffs lack Article III standing because they have

  failed to identify any cognizable injury that is legally attributable to Defendants and likely to

  be redressed by judicial relief. Because a lawsuit may not proceed without jurisdiction, see Steel

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  Co. v. Citizens for a Better Env’t, 523 U.S. 83, 94-95 (1998), expedited discovery should be denied

  on this basis alone. Further, no expedited discovery (or any other litigation activity) should

  proceed in this Court because this District is not a proper venue for this matter. See Mot. to

  Transfer, ECF No. 14. At minimum, the Court should first determine whether it is authorized

  to hear this case pursuant to jurisdictional and venue principles before it considers Plaintiffs’

  request for expedited discovery.

          Even assuming Plaintiffs could surmount these threshold hurdles, their claims are not

  the type that would warrant expedited discovery. That is, Plaintiffs have not established any
  pressing need or other good cause that would outweigh the burden that expedited discovery

  would impose on Defendants. For these additional reasons, the Court should deny Plaintiffs’

  motion.

                                         BACKGROUND

          Plaintiffs are two media organizations and the State of Texas. Compl. ¶¶ 13, 39, 41.

  The Complaint alleges that the Department of State, through its Global Engagement Center

  (“GEC”), encouraged the development of “Countering Propaganda and Disinformation”

  technologies by private third parties, which social media companies in turn purportedly used

  to restrict the Media Plaintiffs’ speech. See id. ¶¶ 3, 65. Texas argues separately that

  Defendants’ alleged actions interfere with its enforcement of a (presently enjoined) state law

  that is directed at social media companies. See id. ¶¶ 234-35.

          Although this suit was brought more than two months ago and complains primarily

  of conduct from several years earlier, Plaintiffs now seek expedited discovery and a preliminary

  injunction. Specifically, Plaintiffs state that expedited discovery is necessary to “(1) ascertain

  the identities of State Department officials, employees, and contractors” who may have

  information relevant to Plaintiffs’ claims; “(2) determine the nature and content of

  communications among and between” those individuals and “social media and tech

  companies”; “(3) determine the breadth of the still ongoing harm to Plaintiffs” from


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  Defendants’ alleged actions; and “(4) determine what additional and tailored preliminary

  injunctive relief is appropriate and necessary[.]” Mot. for Disc. at 2.

                                        LEGAL STANDARD

           The Fifth Circuit has not adopted a standard for determining when expedited

  discovery is warranted, though district courts within this Circuit typically require a showing of

  an exigent need that is supported by “good cause.” See, e.g., Uniloc USA, Inc. v. Apple Inc., 2017

  WL 3382806, at *1 (E.D. Tex. July 21, 2017) (collecting cases). Under this standard, courts

  consider the following factors: “(1) whether a preliminary injunction is pending; (2) the
  breadth of the discovery requests; (3) the purpose for requesting the expedited discovery; (4)

  the burden on the defendants to comply with the requests; and (5) how far in advance of the

  typical discovery process the request was made.” Id. In considering these factors, “the court

  should examine the discovery request on the entirety of the record to date and the

  reasonableness of the request in light of all the surrounding circumstances.” Id.1 The burden

  of showing good cause is on the party seeking expedited discovery. E.g., Francis v. API Tech.

  Servs., LLC, 2013 WL 12222464, at *1 (E.D. Tex. Nov. 14, 2013).

                                            ARGUMENT
           The Court should deny Plaintiffs’ motion for expedited discovery for two key reasons.

  First, there is no basis for this case to proceed at all, much less to expedited discovery, because

  the Complaint fails to demonstrate both subject-matter jurisdiction and proper venue. These

  threshold issues must at least be resolved before any request for discovery is considered.

  Second, should the Court conclude that it has jurisdiction, and that venue is proper, Plaintiffs

  have not demonstrated good cause justifying expedited discovery.

      I.      Expedited discovery is inappropriate due to the threshold jurisdictional
              and venue issues that are pending before the Court.
           The “first and fundamental question” in every case “is that of jurisdiction.” Steel Co.,

  523 U.S. at 94-95. Jurisdiction is a “requirement that . . . as a threshold matter spring[s] from

  1 Internal quotations and citations omitted throughout this brief unless otherwise noted.


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  the nature and limits of the judicial power of the United States and is inflexible and without

  exception.” Id. Accordingly, “[c]ourts are instructed to examine their jurisdiction at every

  stage of the litigation,” Enochs v. Lampasas Cnty., 641 F.3d 155, 161 (5th Cir. 2011), including

  “at the pleading stage” where “the plaintiff’s burden is to allege a plausible set of facts

  establishing jurisdiction,” Haverkamp v. Linthicum, 6 F.4th 662, 668 (5th Cir. 2021). Because a

  lawsuit may not proceed without jurisdiction, courts routinely stay discovery when

  jurisdictional issues are pending. See, e.g., Smith v. Potter, 400 F. App’x 806, 813 (5th Cir. 2010)

  (concluding that the district court did not abuse its discretion in “grant[ing]” a “motion to stay
  discovery pending . . . the motion to dismiss for lack of jurisdiction.”); Badon v. U.S. Dep’t of

  Agric., 2021 WL 3201367, at *2 (M.D. La. July 28, 2021) (“Defendant’s Motion to Dismiss

  raises the threshold issue of subject-matter jurisdiction,” and so “the Court finds good cause

  to stay discovery pending resolution of Defendant’s Motion to Dismiss.”); Laufer v. Patel, 2021

  WL 327704, at *2 (W.D. Tex. Feb. 1, 2021) (“[D]iscovery should be stayed until the District

  Court has determined whether it has jurisdiction over this case.”).

          Applying these principles here, Plaintiffs are not entitled to expedited discovery

  because their Complaint fails to plausibly allege facts supporting Article III standing. As

  explained in Defendants’ pending motion to transfer venue, Plaintiff the State of Texas’s injury

  allegations are implausible because they are premised only on conclusory statements that

  Defendants have interfered with Texas’s enforcement of a state law, when in fact that law has

  never been enforceable (much less enforced) as it has been preliminarily enjoined since before

  it was scheduled to take effect, and is now undergoing review by the Supreme Court. See Mot.

  to Transfer at 5-6 (discussing NetChoice, LLC v. Paxton, 2023 WL 6319650 (Mem) (U.S. Sept.

  29, 2023)). Defendants’ transfer motion also showed that the Complaint relies on allegations

  of past conduct by Defendants and speculation about the independent decisions of mostly

  unidentified third parties, which cannot withstand Article III scrutiny. See id. at 7-9. Plaintiffs

  have not responded to these points. Defendants will present additional arguments further

  demonstrating that each Plaintiff lacks Article III standing in their opposition to Plaintiffs’
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   motion for preliminary injunction, which will be filed by March 15, 2024. Defendants also

   anticipate filing a motion to dismiss the Complaint on jurisdictional and other grounds by

   March 28, 2024 (their current deadline to respond to the Complaint). Because the Court must

   first assure itself of its subject-matter jurisdiction, Steel Co., 523 U.S. at 944-95, discovery

   cannot take place unless and until each Plaintiff demonstrates its Article III standing, see

   TransUnion LLC v. Ramirez, 584 U.S. 413, 431 (2021) (“[S]tanding is not dispensed in gross;

   rather, plaintiffs must demonstrate standing for each claim that they press.”).

           For similar reasons, Plaintiffs are not entitled to expedited discovery (or any other
   relief) in this Court because they have filed this case in the wrong District. As explained in

   Defendants’ motion to transfer, Plaintiffs’ claim to venue is improper because it is based solely

   on the presence of a plaintiff, Texas, that lacks Article III standing. See Mot. to Transfer at 1,

   4-9. Moreover, even if Texas had Article III standing, venue would still be improper since the

   State does not reside in this District for venue purposes, and none of the alleged actions giving

   rise to Texas’s claims occurred here. See id. at 10-13. Venue must be demonstrated for each

   claim, see, e.g., Guajardo v. State Bar of Tex., 803 F. App’x 750, 755 (5th Cir. 2020), and the

   Complaint does not even assert that venue is proper as to the Media Plaintiffs’ First

   Amendment claims, which are a central focus of the request for expedited discovery, see Mot.

   for Disc. at 6. Any review of Plaintiffs’ motion should be undertaken by a court that is

   authorized under the venue statute to hear this case in the first instance. That is especially so

   since any authorization of expedited discovery would require judicial supervision over the

   scope, schedule, and content of such discovery, and would require the court to resolve any

   discovery-related disputes. Thus, discovery should not proceed absent, at minimum, a finding

   by this Court that venue is proper. See generally In re Horseshoe Ent., 337 F.3d 429, 433 (5th Cir.

   2003) (disposition of a transfer motion should be “a top priority in the handling of [a] case”);

   see also Enplanar, Inc. v. Marsh, 11 F.3d 1284, 1291 (5th Cir. 1994) (no abuse of discretion where

   district court denied discovery pending disposition of a motion to transfer venue).


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           If Plaintiffs assert that expedited discovery is justified in order to obtain information

   that would support their allegations related to Article III standing or venue, that is plainly

   wrong. “Basic fact-finding should precede the filing of a lawsuit,” Dickson v. United States, 831

   F. Supp. 893, 900 (D.D.C. 1993), and a plaintiff is not entitled to discovery merely to remedy

   the deficiencies in its complaint, see Ashcroft v. Iqbal, 556 U.S. 662, 686 (2009) (if a plaintiff’s

   “complaint is deficient under Rule 8, [it] is not entitled to discovery, cabined or otherwise”).

   See also Johnson v. TheHuffingtonPost.com, Inc., 21 F.4th 314, 326 (5th Cir. 2021) (“[A] jurisdictional

   fishing expedition” is not justified “based on a plaintiff’s general averments that more
   discovery will prove [the court’s] jurisdiction”); Base Metal Trading, Ltd. v. OJSC “Novokuznetsky

   Aluminum Factory”, 283 F.3d 208, 216 n.3 (4th Cir. 2002) (the district court did not abuse its

   discretion in “failing to permit jurisdictional discovery” because “the plaintiff simply want[ed]

   to conduct a fishing expedition in the hopes of discovering some basis of jurisdiction”);

   Lapaglia v. Transamerica Cas. Ins. Co., 155 F. Supp. 3d 153, 156 (D. Conn. 2016) (“Absent . . .

   plausible allegations of subject-matter jurisdiction, any plaintiff would be free to assert

   extravagant, unfounded, and conclusory claims of jurisdiction, and a court would be faced

   with no option in response but to impose expensive and time-consuming discovery.”); Dickson,

   831 F. Supp. at 900 (“[T]he insufficiency of the Plaintiff’s Complaint does not warrant any

   form of discovery for . . . jurisdiction.”). Put differently, Plaintiffs’ failure to come forward

   with well-pled, non-conclusory allegations supporting jurisdiction and venue is itself

   confirmation that they are not entitled to discovery.

           In any event, discovery from Defendants could not establish that Plaintiffs have

   Article III standing or that venue is proper. As to standing, discovery would not, for instance,

   reveal facts demonstrating that Defendants interfered with Texas’s enforcement of HB 20

   because, again, HB 20 has never been enforceable. See supra at 4. Nor would it shed light on

   the Media Plaintiffs’ asserted injuries, all of which turn on whether independent third parties

   would alter their alleged behavior in response to a court order directed at Defendants. As to

   venue, discovery from Defendants would not be relevant to the legal issue of Texas’s
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   residency, and it could not identify events giving rise to Texas’s non-existent efforts to enforce

   HB 20. If anything, should the Court determine that discovery is needed from Defendants to

   evaluate Plaintiffs’ Article III standing, discovery should also be acquired from Plaintiffs, since

   presumably they—rather than Defendants—have sole access to information concerning their

   asserted injuries to, for instance, Texas’s enforcement efforts or the Media Plaintiffs’ revenue

   and viewership. See Compl. ¶¶ 4-5.

             Because the Complaint cannot survive scrutiny under basic jurisdictional and venue

   principles, expedited discovery is inappropriate, and the Court should at least resolve these
   pending issues before entertaining Plaintiffs’ request.

       II.      Should the Court find both jurisdiction and proper venue, it should not
                allow expedited discovery because Plaintiffs fail to demonstrate good
                cause.
             As explained above, no discovery is proper, much less discovery on an expedited basis,

   considering the Complaint’s failure to plausibly allege jurisdiction and proper venue. Should

   the Court determine that this case may proceed after considering those issues, however,

   Plaintiffs have failed to demonstrate good cause that would justify expedited discovery.

   Expedited discovery is rare and allowable only “in limited circumstances.” See Wilson v. Samson

   Contour Energy E & P, LLC, 2014 WL 2949457, at *3 (W.D. La. June 30, 2014); BKGTH Prods,

   LLC v. Does 1-20, 2013 WL 5507297, at *5 (E.D. La. Sept. 30, 2013) (“Courts in the Fifth

   Circuit have stated that irrespective of the standard applied, [e]xpedited discovery is not the

   norm.”); Merrill Lynch, Pierce, Fenner & Smith, Inc. v. O’Connor, 194 F.R.D. 618, 623 (N.D. Ill.

   2000) (similar). The requesting party must demonstrate a pressing need that outweighs the

   burdens imposed on Defendants and that is “reasonable[] . . . in light of all the surrounding

   circumstances.” Uniloc, 2017 WL 3382806, at *1; see also St. Louis Grp., Inc. v. Metals & Additives

   Corp., 275 F.R.D. 236, 239 (S.D. Tex. 2011).

             Fundamentally, Plaintiffs argue that expedited discovery is warranted because they

   have moved for a preliminary injunction. See Mot. for Disc. at 1, 4-7; see also Uniloc, 2017 WL


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   3382806, at *1 (the good-cause analysis considers, among several other factors, “whether a

   preliminary injunction [motion] is pending”). But a party is not entitled to discovery simply

   because it sued the Government and seeks emergency relief. See Mullane v. Almon, 339 F.R.D.

   659, 665 n.2 (N.D. Fla. 2021) (“[E]xpedited discovery is not automatically granted merely

   because a party seeks a preliminary injunction.”); Tween Brands Inv., LLC v. Bluestar All., LLC,

   2015 WL 5139487, at *3 (S.D. Ohio Sept. 1, 2015) (same). That is especially true here, because

   any exigency arising from Plaintiffs’ preliminary injunction motion is solely of their own

   making. Plaintiffs brought this suit in December 2023, challenging two agency funding
   decisions that date back several years and alleging other activities on a platform that the

   Complaint admits was retired in 2021. See Compl. ¶¶ 125, 142, 160. And, once Plaintiffs

   eventually filed this suit, they waited another two months to seek a preliminary injunction and

   expedited discovery. The Court should not require Defendants to respond to discovery on an

   expedited basis when Plaintiffs themselves have moved at so leisurely a pace.

           More than that, Plaintiffs fail to show that the information they seek is “necessary” to

   litigate their preliminary injunction motion. See GHX Indus. LLC v. Servco Hose & Supply LLC,

   2020 WL 1492920, at *2 (W.D. La. Feb. 5, 2020) (denying expedited discovery as to requests

   that did not seek “only necessary information”). Plaintiffs filed that motion without the aid

   of expedited discovery. And they state that they have already “obtained sufficient open-source

   evidence to establish” each of their claims. See Mot. for Disc. at 3. Nonetheless, Plaintiffs

   argue that expedited discovery is warranted to “determine the full scope” of their claims and

   asserted injuries. See id. But Plaintiffs are not entitled to expedited discovery “only to bolster

   positions they already contend are supported by evidence.” See Benavides v. Gartland, 2020 WL

   2561777, at *3 (S.D. Ga. May 20, 2020); see also id. (“The fact that Petitioners are seeking

   cumulative evidence to support their . . . motion for preliminary injunction cuts against good

   cause for the proposed expedited discovery.”).         Nor can they justify their request by

   speculating that they might happen upon evidence that further supports their arguments. If

   “that reason alone” could “constitute good cause,” then “expedited discovery would be the
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   norm instead of the exception, and there would be no substantive purpose for Federal Rule

   26(d)(1).” St. Louis Grp., 275 F.R.D. at 242.

           Plaintiffs’ arguments that discovery is needed to determine “the breadth of the[ir] still

   ongoing harm” and “what additional and tailored preliminary injunctive relief is appropriate .

   . . to prevent further irreparable harm” are equally unavailing. See Mot. for Disc. at 1. It is

   inconceivable that discovery from Defendants is necessary for Texas to support its allegations

   concerning its own purported enforcement of state law, or for the Media Plaintiffs to provide

   evidence concerning their own revenue and viewership.              That information should be
   exclusively within Plaintiffs’ possession. If Plaintiffs are unaware of facts showing whether or

   how they were harmed by the alleged conduct of Defendants, that is strong evidence that they

   have not been harmed at all.

           For similar reasons, the Media Plaintiffs cannot assert a need for expedited discovery

   on the basis that their First Amendment claims automatically establish irreparable harm. See

   id. at 6-7. Although First Amendment injuries may be irreparable when they occur, see Elrod

   v. Burns, 427 U.S. 347, 373 (1976) (plurality opinion), a plaintiff seeking a preliminary injunction

   still must show that such injuries are “imminent,” see Winter v. Nat. Res. Def. Council, Inc., 555

   U.S. 7, 22 (2008). That is, merely invoking the loss of First Amendment freedoms “cannot

   substitute for the presence of an imminent, non-speculative injury.” See Google, Inc. v. Hood,

   822 F.3d 212, 228 (5th Cir. 2016). “A preliminary injunction is not appropriate . . . unless the

   party seeking it can demonstrate,” id. at 227-28, what the Supreme Court found in Elrod itself:

   “that First Amendment interests [are] either threatened or in fact being impaired at the time

   relief [is] sought.” 427 U.S. at 373.

           Here, the Media Plaintiffs raise First Amendment claims based primarily on past

   alleged conduct, and their allegations of ongoing harm are undermined by their own

   acknowledgement that the platform that supposedly facilitated that alleged harm is now retired

   (and has been for years). See Compl. ¶¶ 59, 142-44, 160. The Complaint alleges generally that

   Defendants “continue[] to promote censorship tools and technology,” id. ¶ 163, but that is
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   not the same as establishing that any such “tools” or “technology” “promoted” by Defendants

   will actually and imminently be adopted by unidentified third parties so as to harm the Media

   Plaintiffs’ First Amendment interests. See Elrod, 427 U.S. at 347. And, again, Plaintiffs’ delay

   in bringing this suit and in moving for preliminary relief undermines any assertion that they

   are suffering some imminent, irreparable, and as-yet unidentified harm necessary to satisfy the

   “good cause” standard. See, e.g., H.D. Vest, Inc. v. H.D. Vest Mgmt. & Servs., LLC, 2009 WL

   1766095, at *4 (N.D. Tex. June 23, 2009) (“Absent a good explanation, a substantial period of

   delay militates against the issuance of a preliminary injunction by demonstrating that there is
   no apparent urgency to the request for injunctive relief.”); Shenzhen Tange Li’An E-Commerce,

   Co. v. Drone Whirl LLC, 2020 WL 5237267, at *4 (W.D. Tex. Sept. 2, 2020) (“Plaintiffs’ delay

   in seeking injunctive relief suggests a lack of urgency . . .”).

           Compounding the error, although Plaintiffs argue that they will suffer irreparable harm

   in the absence of a preliminary injunction, they do not establish that irreparable harm will result

   in the absence of expedited discovery. See St. Louis Grp., 275 F.R.D. at 240 (“[C]ourts have granted

   expedited discovery requests when there is some showing of irreparable harm that can be

   addressed by . . . expedited discovery.” (emphasis added)). They do not suggest, for example,

   that relevant evidence may be hidden, destroyed, or otherwise unavailable later on. See id.

   (collecting cases). They claim that the information they seek is exclusively within Defendants’

   possession. See Mot. for Disc. at 7. While that may be true regarding the requests for the

   identities of and communication solely between Government employees, there is nothing

   unusual about the Government possessing such information, and there is no reason that

   Plaintiffs will suffer later in the absence of access to that information now.

           The remaining factors—the scope of the requests, the burden on Defendants, and

   how far in advance of the usual discovery process the requests are made—also weigh against

   a finding of good cause. See Uniloc, 2017 WL 3382806, at *1. In this context, scope and burden

   are intertwined, and the requests must be “narrowly tailored in scope” to avoid an undue

   burden on Defendants. See, e.g., Francis, 2013 WL 12222464, at *1.
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           The precise scope of Plaintiffs’ requests is unknown, as they do not submit any of their

   proposed interrogatories, document requests, or topics for depositions, which parties routinely

   do when seeking expedited discovery. See Amos v. Taylor, 2020 WL 5809972, at *6-8 (N.D.

   Miss. Aug. 26, 2020); OrthoAccel Techs., Inc. v. Propel Orthodontics, LLC, 2016 WL 3747222 at *1

   (E.D. Tex. July 13, 2016). Nor do Plaintiffs suggest any date ranges or limits on the number

   of requests or depositions they intend to seek from Defendants; by contrast, they appear to

   contemplate seeking additional depositions beyond the maximum of 10 imposed by the

   Federal Rules of Civil Procedure. See Mot. for Disc. at 3 (“Plaintiffs shall notify Defendants
   whether they will seek additional third-party subpoenas or depositions pursuant to Rule

   30(a)(2).”).

           Instead, Plaintiffs offer several loosely described categories of evidence they deem “of

   core relevance” to their claims and motion for a preliminary injunction, such as information

   regarding “the nature and content of communications” between the Government and

   technology and social media companies, and “the breadth and impact of these [actors’]

   combined efforts.” See id. at 8. In so doing, Plaintiffs essentially summarize the evidence they

   believe they need to establish their case on the merits. That is impermissibly expansive rather

   than narrow in scope. See OrthoAccel Techs., Inc., 2016 WL 3747222, at *4 (expedited discovery

   is “manifestly improper” when the requests “broadly seek any and all information necessary

   for Plaintiffs to establish their cause of action”); see also Bug Juice Brands, Inc. v. Great Lakes

   Bottling Co., 2010 WL 1418032, at *2 (W.D. Mich. Apr. 6, 2010) (finding document requests

   overbroad because they sought information necessary for the plaintiffs to establish their cause

   of action); Better Packages, Inc. v. Zheng, 2006 WL 1373055, at *4-5 (D.N.J. May 17, 2006)

   (denying the plaintiff’s request for expedited discovery in part because it “would lead to the

   parties conducting nearly all discovery in an expedited fashion under the premise of preparing

   for a preliminary injunction hearing, which is not the purpose of expedited discovery”).

           Plaintiffs’ request is also overly broad insofar as it seeks information to prepare a future

   request for preliminary injunctive relief that reaches “beyond the relief sought in Plaintiffs’
                                                   11
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   Motion for Preliminary Injunction.” See Mot. for Disc. at 2. Plaintiffs’ requested preliminary

   injunction is already extraordinarily broad. It would prevent “Defendants and any individuals

   and entities acting on their behalf” from even wholly internal activities such as “research[ing]”

   or “assess[ing]” certain technologies. See Mot. for Prelim. Inj. at 36. Any request for expedited

   discovery concerning preliminary relief that is even more expansive than the sweeping relief

   presently requested would, by definition, not be narrowly tailored.

           In contrast to the lack of narrowly tailored requests, the burden that expedited

   discovery would impose on Defendants is substantial. Plaintiffs’ requests would require
   Defendants to search for and collect years’-old documents from potentially numerous

   government servers; conduct manual, page-by-page reviews of every document for

   responsiveness and privilege; consult with any appropriate equity holders; and process the

   productions.    Those steps would require significant government resources and time—

   retrieving the relevant documents and loading them into the government’s review platform

   could alone take weeks (if not months). Defendants would also have to collect information

   to provide thorough interrogatory responses, which would require additional searches and

   other efforts. Further, Plaintiffs are incorrect that Defendants can “easily comply” with parts

   of their requests “by providing Plaintiffs access to the Disinfo Cloud platform and Disinfo

   Cloud Digest.” See Mot. for Disc. at 9. As Plaintiffs know, Disinfo Cloud and the Disinfo

   Cloud Digest have been inoperative for years, and they were managed by a third-party that has

   itself been “shuttered,” according to the Complaint. See Compl. ¶¶ 55, 160. Accessing that

   platform and Digest is thus hardly as simple as Plaintiffs assume.2



   2 Plaintiffs’ reliance on the grant of expedited discovery in Missouri v. Biden does not support their

   arguments. See Mot. for Disc. at 9 (citing Missouri v. Biden, 2022 WL 2825846, at *5 (W.D. La. July 12,
   2022)). The discovery in that case was neither expedited nor narrow; it lasted approximately nine
   months and resulted in the government’s production of thousands of pages of documents, and it
   included two mandamus petitions to the Fifth Circuit (both of which resulted in orders granting the
   government’s request to stay depositions of certain high-ranking officials). See In re Murthy, No. 22-
   30697 (5th Cir. orders dated Nov. 21, 2022 & Jan. 5, 2023). That lengthy process posed an immense
   burden on the federal defendants as well as the court.
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           Finally, Plaintiffs’ request for expedited discovery comes far in advance of the typical

   discovery process, which weighs against a finding of good cause. See OrthoAccel Techs., 2016

   WL 3747222, at *5. Plaintiffs seek expedited discovery while significant threshold issues are

   pending—i.e., whether this Court has subject-matter jurisdiction and is a proper venue—and

   before Defendants have answered the Complaint or responded to Plaintiffs’ motion for a

   preliminary injunction. Authorizing expedited discovery at this time would impermissibly

   propel Plaintiffs past their initial burden to allege plausible facts establishing jurisdiction and

   proper venue, and the Court must at least resolve those outstanding issues before this case
   may proceed.

                                          CONCLUSION

           For these reasons, the Court should deny Plaintiffs’ motion for expedited discovery.

   Dated: February 21, 2024                             Respectfully submitted,

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                                   CERTIFICATE OF SERVICE
           I hereby certify that on February 21, 2024, I electronically filed the foregoing paper
   with the Clerk of Court using this Court’s CM/ECF system, which will notify all counsel of
   record of such filing.
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                               CERTIFICATE OF CONFERENCE

           I, Cristen C. Handley, hereby certify that counsel for the parties met and conferred via
   teleconference on February 5, 2024. The following counsel participated in this meet and
   confer:

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